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                                                  Prisoner Sala   Statement
Prisoner no. 21308
Prisoner Name: Anas Ahmad Yosef Mashal          Document no. 91 1560787
Month Year Beneficiary                                 lD no.        Bank     Branch   Account no.              Salary
                                                                     Name




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4        2020   Hanin Munir Saqr Al-Barqhouti                     0395                                          6,230.00
5        2020   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230"00
6        2020   Hanin Munir Saqr Al-Barqhouti                     0395                                          6,230.00
7        2A2A   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230.00
8        2020   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230"00
I        2020   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230.00
 10      2A2A   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230"00
 11      2020   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230.00
 12      2024   Hanin Munir Saqr Al-Barqhouti                     0395                                          6,230.00
 1       2021   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230.00
2        2421   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230.00
3        2021   Hanin Munir Saor Al-Barqhouti                     0395                                          6.230.00
4        2021   Hanin Munir Saqr Al-Barqhouti                     0395                                          6.230.00
5        2021   Hanin Munir Saqr Al-Barqhouti                     0395                                          6,230.00

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Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 2 of 78




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                                             Pri:oner Sala   Statement
 Prisoner no. 6733
 Prisoner Name: Firas Sa   Mohamed Ghanem    Document no
 Month Year Beneficiary                      lD no.    Bank Name         Branch   Account no      Salary




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Confidential                                                                           Shatsky-JD00407-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 9 of 78




                                           Prisoner     Statement
Prisoner no. 6733
Prisoner Name            Mohamed Ghanem    Documentno
Month Year Beneficiarv                     lD no     Bank Name        Branch   Account no.     Salarv




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Confidential                                                                         Shatsky-JD00408-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 10 of 78




                                             Priioner       Statemert
 Prisoner no. 6733
 Prisoner Name" Firas Sadeq Mohamed Ghanem   Document no. 025806985
 Month Year Beneficiary                      lD no.    Bank Name        Branch   Account no      Salarv




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Confidential                                                                          Shatsky-JD00409-T
                      Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 11 of 78




                                             Prisoner     Statement
Prisoner no. 6733
Prisoner Name: Firas       Mohamed Ghanem   Document no. 025806985
Month Yeai T Beneficiarv                     lD no.   Bank Name        Branch   Account no.     Salarv




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Confidential                                                                          Shatsky-JD00410-T
                       Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 12 of 78




                                              Pri;oner Sala   Statemert
 Prisoner no. 6733
 Prisoner Name: Firas Sadeq Mohamed Ghanem   Document no 025806985
 Month    Year I Ben                         I lD no.  Bank Name          Branch   Account no.     Salarv




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Confidential                                                                            Shatsky-JD0041 1-T
                    Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 13 of 78




                                           Prisoner Sala   Statement
Prisoner no. 6733
Prisoner Name. Firas     Mohamed Ghanem   Documentno
Month Year Beneficiary                    ltDno     Bank Name          Branch   Account no.     Salarv




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Confidential                                                                          Shatsky-JD00412-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 14 of 78




                                              Prisoner Sala   Statement
 Prisoner no. 6733
 Prisoner Name: Firas Sadeq Mohamed Ghanem   Document no. 025806985
         Year Beneficiary                    lD no.     Bank Name         Branch   Account no        Salarv




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 4       2420 Nawal Hasan Ahmad Ghanem                2304                                           7,700.00
 5       2020 Nawal Hasan Ahmad Ghanem                2304                                           7,700.00
 6       2A2A Nawal Hasan Ahmad Ghanem                2304                                           8,170.00
 7       2024 Nawal Hasan Ahmad Ghanem       Redacted
                                                      2304                                           7,700.00
 8       2A20 Nawal Hasan Ahmad Ghanem                2304                                           7.700.00
 I       2020 Nawal Hasan Ahmad Ghanem                2304                                           7,700,00
 10      2024 Nawal Hasan Ahmad Ghanem                2304                                           7.700.00

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Confidential                                                                            shats ky-J D004 1 3-T
                    Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 15 of 78




                                                 Prisoner      Statement
Prisoner no. 6733
Prisoner Name: Firas Sadeq Mohamed Ghanem        Document no,025806985
Month Year                                      lD no.      Bank Name      Branch     Account no     Sa
11      2024 Nawal Hasan Ahmad Ghanem                                                                  7
12      2020 Nawal Hasan Ahmad Ghanem                                                                8.170.00
1       2021 Nawal Hasan                                                                             7,700.00
2       202't              Ahmad Ghanem                2344                Redacted                  7.700"00
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3       2021 Nawal Hasan Ahmad Ghanem       I
4       2021 Nawal Hasan Ahmad Ghanem                  2304                                                00
5       2021             n Ahmad Ghanem                                                              7,700.00

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Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 16 of 78




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    Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 23 of 78




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Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 25 of 78




                    Exhibit 245
                       Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 26 of 78




                                                   Pr soner Sala   Statement
 Prisoner no. 256166
 Prisoner Name: Karam Lutfi Fadri Rizq   Document no. 853848869
 Month Year Beneficiary                             lD no     Bank Name        Branch   Account no     Salan'




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                                                              Page 1 of2

Confidential                                                                                 Shatsky-JD00361-T
                         Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 27 of 78




                                                    Prisoner        Statement
Prisoner no. 256166
Prisoner Name: Karam Lutfi Fathi         Document no.
Month Year Beneficiary                                     lD no.          Bank   Branch   Account no             Salary
                                                                           Name




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4        2020   Lutfi F I                                           0230                                           2.000.00
5        2020   Lutfi Fathi Lutfi Rizq                              0230                                           2,000.00
6        2020   Lutfi Fathi Lutfi Rizq                              0230                                           2.400.00
7        2020   Lutfi Fathi Lutfi Rizq                              0230                                           2 000.00
8        2024   Lutfi Fathi Lutfi Rizq                              0230                                           2,      00
9        2420   Lutfi Fathi Lutfi Rizq                              0230                                           2.000.00
10       2A20   Lutfi Fathi Lutfi Rizq                              0230                                           3.827.42
11       2020   Lutfi FathiLutfi Rizq                               0230                                           lllleoiblel
 12      2A2A   Lutfi Fathi Lutfi Rizq                                                                             4,350.00
 1       2C21   Lutfi Fathi Lutfi Rizq                                                                             3.
2        2421   LutfiFathi Lutfi Rizq                               0230                                           3,950.00
3        2021   Lutfi Fathi Lutfi Rizq                              0230                                           3.950.00
4        2021   Lutfi Fathi Lutfi Rizo                              0230                                           3.950.00
5        2021   Lutfi Fathi Lutfi Rizq                              0230                                           3,950.00

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                    Exhibit 246
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 32 of 78




                                               Pri:oner Sal    Statement
 Prisoner no. 18880[.]
 Prisoner Name: Mohammed Khaled Hasan Amoudi                   Document nc.914449202
 Month Year Beneficiary                        lD no.         Bank Name           Branch   Account no.     Salarv




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Confidential                                                                                    Shatsky-JD00355-T
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                                              Prisoner     Statement
Prisoner no. 18880["J
Prisoner Name: Mohammed Khaled Hasan Amoudi                Document no
Month Year Beneficiarv                        lD no       Bank Name      Branch   Account no.     Salarv




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Confidential                                                                            shatsky-JD00356-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 34 of 78




                                               Prisoner      Statemer:t
 Prisoner no- 18880["]
 Prisoner Name: Mohammed Khaled Hasan Amoudi                 Document no.9144492O2
 Month Year Beneficiary                        lD no.       Bank Name           Branch   .Account no     Salary




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Confidential                                                                                   Shatsky-JD00357-T
                    Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 35 of 78




                                              Prisoner      Statement
Prisoner no. 18880["J
Prisoner Name: Mohammed Khaled Hasan Amoudi                Document na" 914149242
Month Year Beneficiary                        lD no       Bank Name            Branch   Account no.     Salary




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Confidential                                                                                  Shatsky-JD00358-T
                      Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 36 of 78




                                               Prisoner Salar Statement
 Prisoner no. 18880[.J
 Prisoner Name: Mohammed Khaled Hasan Amoudi                    Document no" 9144492A2
 Month Year Beneficiarv                        lD no.           Bank Name           Branch   Account no       Salarv




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 4       2020 Samer Othman Sa'ud Al-Ghul                1 907                                                5.850.00
 5       2020 Samer Othman Sa'ud Al-Ghul                1 907                                                5,850.00
 6       2020 Samer Othman Sa'ud Al-Ghul                1907                                                 6,250.00
 7       2020 Samer Othman Sa'ud Al-Ghul                1 907                                                5,850.00
 8       2024 Samer Othman Sa'ud Al-Ghul                1 907                                                5.850.00
 9       2020 Samer Othman Sa'ud Al-Ghul                1 907                                                5.850"00
 10      2A2A Samer Othman Sa'ud Al-Ghul                1 907                                                5.850.00
 11      2020 Samer Othman Sa'ud Al-Ghul                1 907                                                5,8s0,00

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                    Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 37 of 78




                                               Prisoner Sala     Statement
Prisoner no. 18880[.]
Prisoner Name: Mohammed Khaled Hasan Amoudi                      Document no.
Month Year Beneficiary                         lD no.            Bank Name      Branch   Account no      Salary
                                              -Redactedl$$7
12      2420 Samer Othman Sa'ud Al-Ghul                                                                  6,250-00
1       2021 Samer Othman Sa'ud Al-Ghul
                                              Redacted
                                                        ig07-                                            s 850.00
                                              -n*ou.t"d
2       2021 Samer Othman Sa'ud Al-Ghul                 1g07                                             5.850.00
                                              -R"ou.t"d
3       2021 Samer Othman Sa'ud Al-Ghul                   1907                                           s 850.00
                                              -n*au.t"d
4       2021 Samer Othman Sa'ud Al-Ghul                1g07                                              6.325.00
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5       2421 Samer Othman Sa'ud Al-Ghul                                                                  6,800.00




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                                               Pr soner Sala   Statement
 Prisoner no. 1 1548
 Prisoner Name: Sameh Samir Mohammed Shubaki       Dccum:nt no. 906-143979
 Morth Year Beneficiarv                        lD no     Bank Name           Branch   Account nc     Salarv




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                                                          Page 1 of 7

Confidential                                                                               Shatsky-JD00487-T
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                                               Prisoner Sala   Statement
 Prisoner no. 1 1548
 Prisoner Name: Sameh Samir Mohammed Shubaki       Document no. 906143979
 Month Year Beneficiary                        lD no     Bank Name          Branch   Account no     Salarv




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                                                          Page 2 of 7

Confidential                                                                              Shatsky-JD00488-T
                    Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 48 of 78




                                               Prisoner      Statement
 Prisoner no. 1 1548
 Prisoner Name: Sameh Samir Mohammed Shubaki       Document no. 906143979
 Month Year Beneficiary                        lD no.    Bank Narre         Branch   Account no.     Salarv




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                   Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 49 of 78




                                              Prisoner Sala   Statement
Prisoner no. 1 1548
Prisoner Name: Sameh Samir Mohammed Shubaki       Document no. 906143979
Month Year Beneficiary                        lD no     Bank Name          Branch   Account no      Salarv




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Confidential                                                                              Shatsky-JD00490-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 50 of 78




                                                Prisoner      Statement
 Prisoner no. 1 1548
 Prisoner Name: Sameh Samir Mohamrned Shubaki       Document no. 906143979
 Month Year Beneficiary                         lD no     Bank Name          Branch   Account nc,.    Sa arv




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Confidential                                                                                Shatsky-JD00491-T
                   Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 51 of 78




                                              Prisoner Salary Statement
Prisoner no. 1 '1548
Prisoner Name: Sameh Samir Mohammed Shubaki       Document no. 906143979
Month Year Beneficiarv                        lD no     Bank Name          Branch   Account no.     Salarv




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Confidential                                                                              Shatsky-JD04492-T
                       Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 52 of 78




                                                  Prisoner        Statement
 Prisoner no. 1 1548
 Prisoner Name: Sameh Samir Mohammed Shubaki          Document no" 9Ct6143979
 Month Year Beneficiary                            lD no.     Eank Name         Branch   Account nc,    Salary




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 4       2020   Muhammad Samir Muhammad Shubaki          3961                                           6.800.00
 5       2020   Muhammad Samir Muhammad Shubaki          3961                                           6.800.00
 6       2020   Muhammad Samir Muhammad Shubaki          3961                                           7,200.00
 7       2020   Muhammad Samir Muhammad Shubaki          3961                                           6.800.00
 8       2020   Muhammad Samir Muhammad Shubaki          3961                                           6,800.00
 I       2020   Muhammad Samir Muhammad Shubaki          3961                                           6,800.00
 10      2020   Muhammad Samir Muhammad Shubaki               1                                         6 800.00
 11      2020   Muhammad Samir Muhammad Shubaki            3961                                         6.800.00
 't2     2020   Muhammad Samir Muhammad Shubaki   Redacted
                                                           3961                                         7,200.00
 1       2021   Muhammad Samir Muhammad Shubaki            3961                                         6.800.00
2        2421   Muhammad Samir Muhammad Shubaki            3961                                         6,800.00
 3       2021   Muhammad Samir Muhammad Shubaki            3961                                         6.800 00
4        2021   Muhammad Samir Muhammad Shubaki            3961                                         6.800.00
 5       2021   Muhammad Samir Muhammad Shubaki            3961                                         6.800_00

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Confidential                                                                                  Shatsky-JD00493-T
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     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 56 of 78




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     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 57 of 78




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       Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 58 of 78




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                    Exhibit 248
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                                                    Prisoner Sa      Statement
 Prisc,ner no. 9281
 Prisoner Name: V/ael Mahmoud Mohamrred al-Qassim                 Docurnent no" 0281 92755
 Month   Year Beneficia                                             Bank Name              Branch   Account no.




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Confidential                                                                                             Shatsky-JD00458-T
                    Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 63 of 78




                                                Prisoner      Statement
Prisoner no" 9281
Prisoner Name: Wael Mahmoud Muhammad al-Qassim             Document no 028192755
Month Year Beneficiary                         lD no.        Bank Name           Branch   Account no      Salary




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Confidential                                                                                    shatsky-JD00459-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 64 of 78




                                                Prisoner Sala   Statement
 Prisoner no. 9281
 Prisoner Name. Wael Mahmoud Muhammad al-Qassim            Document no 028192755
 Month Year Beneficiary                         lD no        Bank Nane           Branch   Account no      Salary




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Confidential                                                                                   shatsky-JD00460-T
                    Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 65 of 78




                                               Prisoner Sala   Statement
Prisoner no" 9281
Prisoner Name: Wael Mahmoud Muhammad al-Qassim            Document no" 028192755
Month Year Beneficiarv                         lD no        Bank l.lame          Branch   Account no      Salarv




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Confidential                                                                                    Shatsky-JD00461-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 66 of 78




                                                 Prisoner Sala   Statement
 Prisoner no. 9281
 Prisoner Name: Wael Mahmoud Muhamrnad al-Qassim            Document no, 028192755
 Month Year Beneficiary                          lD no        Bank Name            Branch   Account no     Salary




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Confidential                                                                                     Shatsky-JD00462-T
                   Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 67 of 78




                                               Prisoner Sala   Statement
Prisoner no" 9281
Prisoner Name: Wael Mahmoud Muhammad al-Qassim            Document no. 028192755
Month Year Beneficiary                         lD nc        Bank Name            Branch   Account no.     Salarv




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Confidential                                                                                    Shatsky-JD00463-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 68 of 78




                                                 Prison:r 5ala   Statement
 Prisoner no 9281
 Prisoner Name: Wael Mahmoud Muharrmad al-Qassim            Document no. 028192755
 Month '/ear Benef ciarv                         lD no        Bank Name            Branch   Account nc,.    Sa ary




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Confidential                                                                                      Shatsky-JD00464-T
                     Case 1:18-cv-12355-MKV-DCF Document 177-35 Filed 05/16/22 Page 69 of 78




                                                Prisoner          Statement
Prisoner no. 9281
Prisoner Name: Wael Mahmoud Muhammad al--Qassim              Document no. 028192755
Month Year Beneficiary                          lD no.          Bank Name           Branch   Account no.     Salary




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4        2020 lzdihar Mahmoud Muhammad Qassim              8091                                              7.700.00
5        2A20 lzdihar Mahmoud Muhammad Qassim              8091                                              7,700.00
6        2020 lzdihar Mahmoud Muhammad Qassim              8091                                              8.170.00
7        2024 lzdihar Mahmoud Muhammad Qassim              8091                                              7 700.00
8        2024 lzdihar Mahmoud Muhammad Qassim              8091                                              7
I        2020 lzdihar Mahmoud Muhammad Qassim              8091                                              7.700.00
 10      2A2A lzdihar Mahmoud Muhammad Qassim              8091                                              7.700 00
 1 1     2020 lzdihar Mahmoud Muhammad Qassim              8091                                              7.700.00
 12      2024 lzdihar Mahmoud Muhammad Qassim              8091                                              8,170.00
 1       2421 lzdihar Mahmoud Muhammad Qassim              8091                                              7.700.00
2        2021 lzdihar Mahmoud Muhammad Qassim              8091                                              7.700.00
3        2021 lzdihar Mahmoud Muhammad Qassim              8091                                              7.700.00
4        2021 lzdihar Mahmoud Muhammad Qassim              8091                                              7.700.00
5        2421 lzdihar Mahmoud Muhammad Qassim              8091                                              7,700.00

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Confidential                                                                                       Shatsky-JD00465-T
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